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  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14    CALIFORNIA RIFLE & PISTOL                      CASE NO: 8:23-cv-10169-SPG
        ASSOCIATION, INCORPORATED; THE                 (ADSx)
  15    SECOND AMENDMENT FOUNDATION;
        GUN OWNERS OF AMERICA, INC.;                   REQUEST FOR JUDICIAL
  16    GUN OWNERS FOUNDATION; GUN                     NOTICE IN SUPPORT OF
        OWNERS OF CALIFORNIA, INC.;                    PLAINTIFFS’ MOTION FOR
  17    ERICK VELASQUEZ, an individual;                PRELIMINARY INJUNCTION
        CHARLES MESSEL, an individual;
  18    BRIAN WEIMER, an individual;                   Hearing Date: March 13, 2024
        CLARENCE RIGALI, an individual;                Hearing Time: 1:30 p.m.
  19    KEITH REEVES, an individual, CYNTHIA           Courtroom: 5C
        GABALDON, an individual; and                   Judge: Hon. Sherilyn Peace Garnett
  20    STEPHEN HOOVER, an individual,
  21                       Plaintiffs,
  22                 v.
  23    LOS ANGELES COUNTY SHERIFF’S
        DEPARTMENT; SHERIFF ROBERT
  24    LUNA, in his official capacity; LA VERNE
        POLICE DEPARTMENT; LA VERNE
  25    CHIEF OF POLICE COLLEEN FLORES,
        in her official capacity; ROBERT BONTA,
  26    in his official capacity as Attorney General
        of the State of California and DOES 1-10,
  27
                           Defendants.
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   1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

   2         Under Federal Rule of Evidence 201, Plaintiffs California Rifle & Pistol

   3   Association, Incorporated, The Second Amendment Foundation, Gun Owners of

   4   America, Inc., Gun Owners Foundation, Gun Owners of California, Inc., Erick

   5   Velasquez, Charles Messel, Brian Weimer, Clarence Rigali, Keith Reeves, Cynthia

   6   Gabaldon, and Stephen Hoover request that the Court take judicial notice of the

   7   following documents in support of Plaintiffs’ Motion for Preliminary Injunction:

   8         1.     Cumberland County, Pennsylvania License to Carry Firearms

   9   Webpage. A true and correct copy of this document is attached as Exhibit A.

  10   Exhibit I is a webpage maintained by the local government of Cumberland County

  11   Pennsylvania and pertains to their procedures for issuing CCW permits. It is

  12   available online at https://www.cumberlandcountypa.gov/3094/License-to-Carry-

  13   Firearms (last visited Jan. 24, 2024).

  14         2.     La Verne Police Department CCW Fee Schedule. A true and correct

  15   copy of this document is attached as Exhibit B. Exhibit B is the fee schedule

  16   maintained my MyCCW, a contractor working with the La Verne Police

  17   Department to process all CCW permit applicants, and is available online at

  18   https://docs.google.com/document/d/1g_oOI4RbXAmUa3SiqwhFTvlBaY5ZIs_VO

  19   UtSdQocOEU/preview (last visited Jan. 23, 2024).

  20         3.     Arizona Department of Public Safety Concealed Weapons and

  21   Permits Webpage. A true and correct copy of this document is attached as Exhibit

  22   C. Exhibit C is a website maintained by the government of the State of Arizona,

  23   and is available online at https://www.azdps.gov/services/public/cwp (last visited

  24   Jan. 23, 2024). The website includes a fee schedule of the fees charged for CCW

  25   permit applications.

  26         4.     Texas Department of Public Safety, License to Carry (LTC) Fee

  27   Table. A true and correct copy of this document is attached as Exhibit D. Exhibit

  28   D is retrievable from a website maintained by the government of the State of Texas,

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   1   and is available online at https://www.dps.texas.gov/section/handgun-
   2   licensing/licensing-registration (last visited Jan. 23, 2024), by clicking the “fee
   3   schedule” link on that page.
   4         5.        Utah Department of Public Safety – “How do I apply for a
   5   Concealed Firearm Permit?” Webpage. A true and correct copy of this document
   6   is attached as Exhibit E. Exhibit E is a website maintained by the government of
   7   the State of Utah, and is available online at https://bci.utah.gov/concealed-
   8   firearm/how-do-i-apply-for-a-concealed-firearm-permit (last visited Jan. 23, 2024).
   9   The website includes a fee schedule of the fees charged for CCW permit
  10   applications.
  11         6.        Washington Department of Licensing – Fees, Firearm Dealers
  12   Webpage. A true and correct copy of this document is attached as Exhibit F.
  13   Exhibit F is a website maintained by the government of the State of Washington,
  14   and is available online at https://www.dol.wa.gov/professional-licenses/firearms-
  15   dealers/fees-firearms-dealers (last visited Jan. 23, 2024). The website includes a fee
  16   schedule of the fees charged for CCW permit applications.
  17         7.        Los Angeles County Sheriff’s Department Concealed Carry
  18   Weapon License, Permitium. A true and correct copy of this document is attached
  19   as Exhibit G. Exhibit G is a webpage maintained by Permitium, a software service
  20   used by the Los Angeles County Sheriff’s Department to process CCW permit
  21   applications, and is available online at https://lasd.permitium.com/entry (last visited
  22   Jan. 23, 2024).
  23         8.        Glendora Police Department License to Carry a Concealed
  24   Weapon, Permitium. A true and correct copy of this document is attached as
  25   Exhibit H. Exhibit H is a webpage maintained by Permitium, a software service
  26   used by the Glendora Police Department to process CCW permit applications, and
  27   is available online at https://glendorapdca.permitium.com/ccw/start (last visited Jan.
  28   23, 2024).

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   1           9.    La Verne Police Department Information on Psychological
   2   Assessment. A true and correct copy of this document is attached as Exhibit I.
   3   Exhibit I is information on La Verne’s psychological examination required of all
   4   CCW permit applicants and was published by the La Verne Police Department. It is
   5   available online at https://www.lvpd.org/uploads/Psychological%20Assesment.pdf
   6   (last visited Jan. 23, 2024).
   7           10.   Fred L. Button, ed., General Municipal Ordinances of the City of
   8   Oakland, California (Oakland, CA; Enquirer, 1895), p. 218, Sec. 1, An
   9   Ordinance to Prohibit the Carrying of Concealed Weapons, No. 1141. A true
  10   and correct copy of this document is attached as Exhibit J. Exhibit J is a copy of a
  11   historical ordinance from the City of Oakland that was enacted in 1890.
  12           11.   Prohibiting the Carrying of Concealed Deadly Weapons,
  13   Ordinance no. 84, Charter and Ordinances of the City of Sacramento (1876).
  14   A true and correct copy of this document is attached as Exhibit K. Exhibit K is a
  15   copy of a historical ordinance from the City of Sacramento that was enacted in
  16   1876.
  17           A court shall take judicial notice of such a fact if requested by a party and
  18   supplied with the necessary information. See Fed. R. Evid. 201(d). Judicial notice
  19   of Exhibits A through K is proper because the documents for which this request is
  20   made are “capable of accurate and ready determination by resort to sources who
  21   accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Indeed, “[a]
  22   trial court may presume that public records are authentic and trustworthy.”
  23   Gilbrook v. City of Westminster, 177 F.3d 839, 858 (9th Cir. 1999) (taking judicial
  24   notice of agency report).
  25           Most of these exhibits are either directly from government websites, or the
  26   websites of contractors working with those governments to handle CCW permit
  27   application processing. “[A] court can take judicial notice of a government's
  28   website.” EVO Brands, LLC v. Al Khalifa Grp. LLC, 657 F. Supp. 3d 1312, 1321

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   1   (C.D. Cal. 2023), citing Daniels–Hall v. National Education Association, 629 F.3d
   2   992, 999 (9th Cir. 2010) (taking judicial notice of information on the websites of
   3   two school districts because they were government entities).
   4         As for the two historical ordinances cited from the nineteenth century, those
   5   are also subject to judicial notice. See Baird v. Bonta, No. 2:19-CV-00617-KJM-
   6   AC, 2023 WL 9050959, at *7 (E.D. Cal. Dec. 29, 2023) (taking judicial notice of
   7   historical laws and regulations governing public carry of weapons).
   8          Judicial notice of these records is therefore appropriate.
   9
             Respectfully submitted,
  10
       Dated: January 26, 2024               MICHEL & ASSOCIATES, P.C.
  11
                                             /s/ C.D. Michel
  12                                         C.D. Michel
                                             Counsel for Plaintiffs
  13
  14
       Dated: January 26, 2024               LAW OFFICES OF DON KILMER
  15
                                             /s/ Don Kilmer
  16                                         Don Kilmer
                                             Counsel for Plaintiff The Second Amendment
  17                                         Foundation

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   1                           CERTIFICATE OF SERVICE
                         IN THE UNITED STATES DISTRICT COURT
   2                       CENTRAL DISTRICT OF CALIFORNIA
   3
       Case Name: California Rifle and Pistol Association, et al., v. Los Angeles County
   4   Sheriff’s Dept., et al.

   5   Case No.:    8:23-cv-10169-SPG (ADSx)

   6   IT IS HEREBY CERTIFIED THAT:

   7          I, the undersigned, am a citizen of the United States and am at least eighteen
       years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
   8   Beach, California 90802.

   9          I am not a party to the above-entitled action. I have caused service of:

  10       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR PRELIMINARY INJUNCTION
  11
       on the following parties, as follows:
  12
       Mark R Beckington
  13   Jane E. Reilley
       Christina R.B. Lopez, Deputy Attorney General
  14   California Department of Justice
       Office of the Attorney General
  15   300 South Spring Street, Suite 1702
       Los Angeles, CA 90013-1230
  16   jane.reilley@doj.ca.gov
       Christina.Lopez@doj.ca.gov
  17      Attorney for Defendants

  18   by electronically filing the foregoing with the Clerk of the District Court using its
       ECF System, which electronically notifies them.
  19
               Additionally, the following parties were served by transmitting a true copy
  20   via electronic mail as follows:

  21    Dawyn R. Harrison, County Counsel                Bruce A. Lindsay
        Caroline Shahinian, Deputy County Counsel        Monica Choi Arredondo
  22    Office of the County Counsel                     JONES MAYER
        500 W Temple St Ste 648                          3777 N. Harbor Blvd.
  23    Los Angeles, CA 90012-3196                       Fullerton, CA 92835
        cshahinian@counsel.lacounty.gov                  bal@jones-mayer.com
  24                                                     mca@jones-mayer.com
        Attorneys for Defendants Los Angeles
  25    County Sheriff’s Department and Sheriff          Attorneys for Defendants La
        Robert Luna                                      Verne Police Department and La
  26                                                     Verne Chief of Police Colleen
                                                         Flores
  27
  28

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                                     CERTIFICATE OF SERVICE
                                                                     3:22-cv-01461-RBM-WVG
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   1          I declare under penalty of perjury that the foregoing is true and correct.
   2   Executed January 26, 2024
   3                                                 Christina Castron
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                                    CERTIFICATE OF SERVICE
                                                                     3:22-cv-01461-RBM-WVG
